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Prob 12C (12/04)
(D/KS 07/16)                                                                                  PACTS# 19846
                                   United States District Court
                                                  for the
                                           District of Kansas

                   Petition for Warrant or Summons for Offender Under Supervision


Name of Offender: Danny M. Griffin                             Case Number: 1083 6:05CR10027-001

Sentencing Judicial Officer: Honorable Wesley E. Brown, Senior U.S. District Judge
Reassigned Judicial Officer: Honorable J. Thomas Marten, Chief U.S. District Judge

Date of Original Sentence: 06/27/2005

Original Offense: Narcotics - Sell - Distribute - Or Dispense

Original Sentence: 235 Months Prison, 60 Months Supervised Release

Type of Supervision: TSR                                    Date Supervision Commenced: 01/15/2016
Asst. U.S. Attorney: D. Blair Watson                             Defense Attorney: Mark Schoenhofer

                                       PETITIONING THE COURT

☒ To issue a warrant
☐ To issue a summons

The probation officer believes that the offender has violated the following condition(s) of
supervision:


 Violation Number         Nature of Non-Compliance
           1              Standard Condition #7: “The defendant shall refrain from excessive use of
                          alcohol and shall not purchase, possess, use, distribute, or administer
                          any narcotic or other controlled substance, or any paraphernalia related to
                          such substances, except as prescribed by a physician.”

                          On 05/23/2016, Mr. Griffin submitted a urine sample which tested positive for
                          marijuana on a preliminary drug screen. Subsequently, he signed an Admission
                          of Usage Form admitting to consuming marijuana on or about, 05/22/2016. On
                          06/14/2016, Mr. Griffin submitted a urine sample which tested positive for
                          marijuana on a preliminary drug screen. Subsequently, he signed an Admission
                          of Usage Form admitting to consuming marijuana on or about, 05/21/2016. On
                          July 5, 2016, Mr. Griffin submitted a urine sample which tested positive for
                          marijuana on a preliminary drug screen. Subsequently, he signed an Admission
                          of Usage Form admitting to consuming marijuana on or about, July 4, 2016.

                          For the purposes of applying the provisions of 18 U.S.C. §§ 3565(b)(4) or
                          3583(g)(4) (mandatory revocation for submitting more than three (3) positive
                          drug tests in a 12 month period), the defendant has submitted three (3)
                          positive qualifying sample(s). If the Court finds that the positive drug test(s)
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                        constitutes possession of a controlled substance the Court is required to revoke
                        supervision and impose a sentence that includes a term of imprisonment. 18
                        U.S.C. §§ 3565(b), 3583(g). The Court shall also consider whether the
                        availability of appropriate substance abuse programs, or the offender's current
                        or past participation in such programs, warrants an exception from the
                        requirement of mandatory revocation and imprisonment under 18 U.S.C. §§
                        3565(b), 3583(g). 18 U.S.C. §§ 3563(a), 3583(d). U.S. v Hammonds, 370 F.3d
                        1032 (10th Cir. 2004).

         2              Statutory Condition: “The defendant shall not commit another federal,
                        state, or local crime.”

                        On June 28, 2016, Mr. Griffin was arrested by the Wichita Police Department in
                        Case Numbers 16C44535 and 16C44574, charging him with Felony Theft,
                        Criminal Discharge of a Firearm at an Occupied Vehicle, and Criminal Damage
                        to Property. These cases remain pending and Mr. Griffin has been release on
                        bond. Evidence in support of this violation includes an Affidavit signed by
                        Wichita Police Department Detective Kenneth E Davis, Badge Number 1862.

         3              Special Condition: “The defendant shall reside at a residential re-entry
                        center program, in the community corrections component allowing for
                        work release, for up to 180 days, at the direction of the U.S. Probation
                        Officer. The defendant shall comply with the policies and procedures of
                        the residential re-entry center program including any requirement to wear
                        an electronic monitoring device, which may include Global Position
                        System and/or Random Tracking, and follow electronic monitoring
                        procedures specified by the residential re-entry center program.”

                        The defendant agreed to modification of conditions to add the condition for
                        residential re-entry center program and signed a Waiver of Hearing to Modify
                        Conditions form (Probation Form 49). A placement date was scheduled for July
                        18, 2016. However, the date was modified due to risk issues shared with the
                        Court and Mr. Griffin was directed to report to the Mirror, Inc. facility on July 8,
                        2016. Mr. Griffin failed to report as directed and his current whereabouts are
                        unknown.




U.S. Probation Officer Recommendation:

       The term of supervision should be:

               ☒ Revoked
               ☐ Extended for years, for a total term of years.

☐ The conditions of supervision should be modified as follows:

If the Court concurs, this report shall document the Court’s consideration and finding that the
availability of appropriate substance abuse treatment programs and/or the offender’s current or
past participation in such programs, warrants an exception to the mandatory revocation as
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provided by United States Sentencing Commission guidelines from the rule of 18 U.S.C. §
3583(g) when considering any action against a defendant who fails a drug test.

                                                        I declare under penalty of perjury that the
                                                        foregoing is true and correct.
                                                        Executed on: 07/13/2016

                                                   by
Approved:                                               For Justin Hoffman
                                                        Senior U.S. Probation Officer

Chris S. McNiel, SUSPO

               Please indicate the Court response below and return to the U.S. Probation Officer

☐ No Action
☐
X The Issuance of a Warrant. Petition and warrant sealed and not to be distributed to counsel
  of record. Unsealed upon arrest.
☐ The Issuance of a Summons
☐ Other:



                                                            s/ J. Thomas Marten
                                                                   Signature of Judicial Officer
                                                            July 13, 2016
                                                                                 Date
